Case 3:18-md-02843-VC Document 48-2 Filed 06/21/18 Page 1 of 5




            EXHIBIT B
         Case 3:18-md-02843-VC Document 48-2 Filed 06/21/18 Page 2 of 5

                                                                                 Exhibit B
                                                       Counsel Supporting Michael W. Sobol

Law Firm & Contact Information               Counsel                 Case Information
1.    RUYAK CHERIAN LLP                      Robert F. Ruyak         Redmond, et al. v.
      FIELDS PLLC                            Martin Cunniff          Facebook, Inc., et al.,
      1700 K Street NW, Suite 810                                    No. 18-cv-00531 (Dist.
      Washington, DC 20006                                           Del.)
      T: 202-838-1561
      robertr@ruyakcherian.com
      martinc@ruyakcherian.com

2.    CARELLA, BYRNE, CECCHI,                James E. Cecchi         Malskoff, et al. v.
      OLSTEIN, BRODY & AGNELLO, P.C.                                 Facebook, Inc., et al.,
      5 Becker Farm Road                                             No. 18-cv-03393 (N.D.
      Roseland, New Jersey 07068                                     Cal.)
      T: 973-994-1700
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      jcecchi@carellabyrne.com

3.    KELLER ROHRBACK LLP                    Derek Loeser            Haslinger v. Facebook,
      1201 Third Ave., Suite 3200                                    Inc., et al., No. 18-cv-
      Seattle, WA 98101                                              01984 (N.D. Cal.)
      T: 206-623-1900
      F: 206-623-3384
      dloeser@KellerRohrback.com

4.    BARNOW AND ASSOCIATES, P.C.            Ben Barnow              Wing, et al. v. Facebook,
      One North LaSalle Street, Suite 4600                           Inc., No. 18-cv-02122
      Chicago, IL 60602                                              (N.D. Cal.)
      T: 312-621-2000
      F: 312-641-5504
      b.barnow@barnowlaw.com

5.    HUGHES ELLZEY, LLP                     W. Craft Hughes         Lodowski v. Facebook,
      2700 Post Oak Blvd., Suite 1120                                Inc., et al., No. 18-cv-
      Houston, TX 77065                                              03484 (N.D. Cal.)
      T: 888−350−3931
      F: 888−995−3335
      craft@hughesellzey.com

6.    MOTLEY RICE LLC                        Jodi Westbrook          Picha v. Facebook, Inc.,
      28 Bridgeside Blvd.                    Flowers                 et al., No. 18-cv-02090
      Mount Pleasant, SC 29464                                       (N.D. Cal.);
      T: 843-216-9163                                                Skotnicki v. Facebook,
      jflowers@motleyrice.com                                        Inc., et al., No. 18-cv-
                                                                     00655 (Dist. Del.)



                                             1
         Case 3:18-md-02843-VC Document 48-2 Filed 06/21/18 Page 3 of 5

                                                                              Exhibit B
                                                    Counsel Supporting Michael W. Sobol

Law Firm & Contact Information            Counsel                 Case Information
7.    SULAIMAN LAW GROUP, LTD.            James C. Vlahakis       Comforte, et al. v.
      2500 Highland Avenue                                        Cambridge Analytica, et
      Suite 200                                                   al., No. 18-cv-03394
      Lombard, IL 60148                                           (N.D. Cal.)
      T: 630-581-5456
      F: 630-575-8188
      jvlahakis@sulaimanlaw.com

8.    MURPHY, FALCON & MURPHY             Hassan Murphy           Pelc v. Facebook, Inc., et
      One South Street, 23rd Floor                                al., No. 18-cv-02948
      Baltimore, MD 21202                                         (N.D. Cal.)
      T: 410-951-8809
      F: 410-539-6599
      hassan.murphy@murphyfalcon.com

9.    GIBBS LAW GROUP LLP                 Eric Gibbs              King v. Facebook, Inc., et
      601 California Street, #1400                                al., No. 18-cv-02276
      San Francisco, CA 94108                                     (N.D. Cal.)
      T: 510-350-9710
      ehg@classlawgroup.com

10.   STUEVE SIEGEL HANSON LLP            Norman Siegel           O’Kelly v. Facebook,
      460 Nichols Road, Suite 200                                 Inc., et al., No. 18-cv-
      Kansas City, MO 64112                                       01915 (N.D. Cal.)
      T: 816-714-7112
      F: 816-714-7101
      siegel@stuevesiegel.com

11.   SEEGER WEISS LLP                    Christopher A. Seeger   Malskoff, et al. v.
      55 Challenger Road, 6th Floor       Steven A. Weiss         Facebook, Inc., et al.,
      Ridgefield Park, New Jersey 07660                           No. 18-cv-03393 (N.D.
      T: 212-584-0700                                             Cal.)
      F: 212-584-0799
      cseeger@seegerweiss.com
      sweiss@seegerweiss.com

12.   AHDOOT & WOLFSON, PC                Tina Wolfson            Diaz Sanchez v.
      10728 Lindbrook Drive                                       Facebook, Inc., et al.,
      Los Angeles, CA 90024                                       No. 18-cv-02381 (N.D.
      T: 310-474-9111                                             Cal.)
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                                          2
         Case 3:18-md-02843-VC Document 48-2 Filed 06/21/18 Page 4 of 5

                                                                            Exhibit B
                                                  Counsel Supporting Michael W. Sobol

Law Firm & Contact Information          Counsel                 Case Information
13.   CARNEY BATES & PULLIAM, PLLC      Hank Bates              Beiner, et al. v.
      519 W 7th Street                                          Facebook, Inc., et al.,
      Little Rock, AR 72201                                     No. 18-cv-01953 (N.D.
      T: 501-312-85 00                                          Cal.)
      F: 501-312-8505
      hbates@cbplaw.com

14.   PHILLIPS, ERLEWINE, GIVEN &       Nicholas A. Carlin      Rubin v. Facebook, Inc.,
      CARLIN LLP                                                et al., No. 18-cv-01852
      39 Mesa Street, Suite 201                                 (N.D. Cal.)
      The Presidio
      San Francisco, CA 94129
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      F: 415-398-0911
      nac@phillaw.com

15.   CASEY GERRY SCHENK                Gayle M. Blatt          Gerena v. Facebook,
      FRANCAVILLA BLATT & PENFIELD                              Inc., No. 18-cv-02201
      LLP                                                       (N.D. Cal.)
      110 Laurel Street
      San Diego, CA 92101
      T: 619-238-1811
      F: 619-544-9232
      gmb@cglaw.com

16.   LEVI & KORSINSKY, LLP             Rosemary M. Rivas       Vance-Guerbe v.
      44 Montgomery Street, Suite 650                           Facebook, Inc., et al.,
      San Francisco, CA 94104                                   No. 18-cv-02987 (N.D.
      T: 415.291.2420                                           Cal.)
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      rrivas@zlk.com

17.   GUSTAFSON GLUEK PLLC              Daniel C. Hedlund       Schinder v. Facebook
      120 So. 6th St., Ste. 2600                                Inc., et al., No. 18-cv-
      Minneapolis, MN 55402                                     02571 (N.D. Cal.)
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      dhedlund@gustafsongluek.com




                                        3
         Case 3:18-md-02843-VC Document 48-2 Filed 06/21/18 Page 5 of 5

                                                                               Exhibit B
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Law Firm & Contact Information             Counsel                 Case Information
18.   BLEICHMAR FONTI & AULD LLP           Lesley Weaver           Schinder v. Facebook
      555 12th Street, Suite 1600                                  Inc., et al., No. 18-cv-
      Oakland, CA 94607                                            02571 (N.D. Cal.)
      T: 415-445-4003
      F: 415-445-4020
      lweaver@bfalaw.com

19.   BLOOD HURST & O’REARDON, LLP         Timothy G. Blood        O’Hara, et al. v.
      501 West Broadway Suite 1490                                 Facebook, Inc., et al.,
      San Diego, CA 92101                                          No. 18-cv-00571 (C.D.
      T: 619-338-1100                                              Cal.)
      F: 619-338-1101
      tblood@bholaw.com

20.   CUNEO GILBERT & LADUCA, LLP          Michael Flannery        O’Hara, et al. v.
      4725 Wisconsin Avenue NW Suite 200                           Facebook, Inc., et al.,
      Washington, DC 20016                                         No. 18-cv-00571 (C.D.
      T: 202-789-3960                                              Cal.)
      F: 202-789-1813
      mflannery@cuneolaw.com

21.   COAST LAW GROUP, LLP                 Helen Zeldes            O’Hara, et al. v.
      1140 South Coast Highway 101                                 Facebook, Inc., et al.,
      Encinitas, CA 92024                                          No. 18-cv-00571 (C.D.
      T: 760-942-8505                                              Cal.)
      F: 760-942-8515
      helen@coastlawgroup.com

22.   SCHONBRUN SEPLOW HARRIS &            Paul Hoffman            O’Hara, et al. v.
      HOFFMAN, LLP                                                 Facebook, Inc., et al.,
      11543 West Olympic Boulevard                                 No. 18-cv-00571 (C.D.
      Los Angeles, CA 90064                                        Cal.)
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                                           4
